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                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL by the OIL RIG                *        MDL NO. 2179
“DEEPWATER HORIZON” IN THE                     *
GULF OF MEXICO, on APRIL 20, 2010              *
                                               *         SECTION J
                                               *
THIS DOCUMENT RELATES TO:                      *         JUDGE BARBIER
                                               *
2:11-cv-00263                                  *         MAG. JUDGE SHUSHAN
                                               *
                                          ORDER

        After considering Defendant Dril-Quip Inc.’s Motion to Dismiss, the Court DENIES the

motion. It is therefore;

        ORDERED that Defendant Dril-Quip Inc.’s Motion to Dismiss is DENIED.



Signed this the ________ day of ___________ 2011

                                                         _____________________________
                                                         JUDGE PRESIDING
